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December 4, 2024

E-Filed

The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:     Kadrey et al. v. Meta Platforms, Inc.; Case No. 3:23-cv-03417-VC-TSH

Dear Magistrate Judge Hixson:

       Plaintiffs in the above-captioned action (“Plaintiffs”) and Defendant Meta Platforms, Inc.
(“Meta”) jointly submit this letter brief regarding issues related to Plaintiffs’ RFP Nos. 118 and
119. The parties met and conferred on November 20, November 27, and December 2, 2024 but
were unable to reach a resolution on the following issues.
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I.      PLAINTIFFS’ STATEMENT
        Plaintiffs are entitled to information about how Meta obtained copyrighted works,
including Plaintiffs’ works; the number of copies it made; and how it used those works in training
and operationalizing its Llama models. This includes information about Meta’s alteration and
distribution of copyrighted works, Llama’s propensity to regurgitate copyrighted material, and the
features that Meta built into Llama models to mitigate infringing outputs. RFPs 118-119 are
intended to answer these questions, but Meta continues to withhold relevant information.
        A. RFP No. 118: Source Code and Post-Training Data
        RFP 118 seeks materials related to Meta’s efforts to prevent Llama from emitting
copyrighted material. Ex. A. Meta provided some responsive material via documents and
testimony, including in the so-called “pre-training” phase. But a significant hole remains: Meta’s
post-training materials are largely missing, including datasets used to teach Llama models not to
emit copyrighted data, and the source code Meta addressing “memorization” and “regurgitation”
issues.
       This missing data exists—Meta acknowledges a so-called mitigation strategy covering
copyright-protected materials and other content. Meta witnesses also have explained that


   All of this is relevant, as is the general topic of how the models memorize and regurgitate. For
example, if a model can output or regurgitate copyrighted material on which it has trained, that is
direct evidence of copying. It is also probative of the form in which the models functionally store
a copy, or “memory,” of training data. The information Meta has disclosed affirmatively—
including testimony from nearly every relevant witness—makes clear that memorization is a
recurring and endemic problem with Llama. Meta’s efforts in connection with handling the limited
reality of what its models do—among other things, memorize and regurgitate—are thus relevant
to Plaintiffs’ core claim and Meta’s defenses, including Meta’s argument about purported
transformative use, i.e., that material on which Llama trains is “transformed” when Llama creates
outputs. The post-training data that Meta uses to regulate Llama’s outputs bears on this analysis.
        As a compromise, Plaintiffs requested two specific post-training datasets from Meta: (i)
the data mentioned in Sections 3 and 4.2 of Meta’s Llama 2 Paper, 1 and (ii) the data mentioned in
Sections 4.2 and 5.4.3 of Meta’s Llama 3 Paper.2 The “Llama Papers” are publicly available
research papers published by Meta. The cited sections describe Llama’s mitigation protocols and
repeatedly reference post-training data Meta refuses to produce here. The Court should order the
production of this data.
       Relatedly, the source code that Meta has produced is likely deficient. Meta’s Source Code
Room contains an unorganized mix of scripts and experimental code, not the organized set of code
needed to support a sophisticated LLM. If it would assist the Court, Plaintiffs are prepared to
submit an expert declaration from Crista Lopes, PhD regarding the jumbled state of Meta’s Source


1 https://ai.meta.com/research/publications/llama-2-open-foundation-and-fine-tuned-chat-models/.

2 https://ai.meta.com/research/publications/the-llama-3-herd-of-models/.
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II.    META’S STATEMENT
        Discovery in this matter closes in seven business days. Rather than focusing on taking the
remaining depositions5, Plaintiffs continue to seek to compel Meta to produce documents far
outside the relevant issues in this case, that impose a disproportionate burden, and relitigate settled
discovery issues Meta has addressed a reasonable scope for RFPs 118-119. The Court should deny
relief.
        Meta Has Adequately Responded to RFP 118. Plaintiffs’ RFP 118 seeks documents
“relating to any efforts, attempts, or measures implemented by Meta to prevent Llama Models
from emitting or outputting copyrighted material.” However, Judge Chhabria dismissed
Plaintiffs’ claims that the output of the Llama models constituted copyright infringement by
Meta. ECF 56 at 1-3. Thus, RFP 118 is of ancillary relevance, at most, to the only claim
remaining in this case: whether Meta’s use of datasets allegedly containing copies of Plaintiffs’
books to train the Llama models constitutes copyright infringement. ECF 56 at 1.
         Despite the tangential nature of RFP 118, Meta has produced numerous responsive
documents, as Plaintiffs acknowledge. In addition, in an effort to avoid unnecessary motion
practice, Meta also has made available to Plaintiffs (1) the code for its products incorporating the
Llama models, including Meta AI, as well as (2) any corresponding code related to post-output
filtering (thereby addressing an issue that Plaintiffs have highlighted above). Meta also is
collecting and will shortly produce additional documents concerning output mitigations specific
to the Meta AI platform.
        Notwithstanding Meta’s adequate and proportional response to RFP 118, Plaintiffs demand
more and seek documents that are largely unrelated to RFP 118. It was no “compromise” for
Plaintiffs to seek the alleged “data” mentioned in the cited sections of the Llama 2 and 3 papers.
Together, these sections contain over 15 pages of dense, technical text describing a variety of post-
training processes and techniques, not any discrete “data” that can be readily collected. Tracking
down any “data” related to these sections of the paper would necessitate, among other things,
additional witness interviews to understand and identify what data could be responsive, followed
by searches, collection, and review–all before the close of discovery. Furthermore, these sections
of the Llama papers sweep in matters that have little to do with “measures implemented by Meta
to prevent Llama Models from emitting or outputting copyrighted material” (the subject of RFP
118) such as output helpfulness and safety-related issues (e.g., toxicity and bias). And even if any
of the cited sections concerned copyright-related mitigations, Plaintiffs’ theory of relevance fails.
Plaintiffs suggest that if a model can memorize training data, that is “direct evidence of copying,”
but “post training data”—which, by definition, is used after the training that is the subject of
Plaintiffs’ lone remaining claim—will not address whether Plaintiffs’ books were used for or
memorized during training. Plaintiffs’ suppositions should be addressed by (1) the datasets that
they allege contain their books, which have been produced by Meta, and (2) the Llama models
themselves, which are publicly available. Plaintiffs also baldly assert that “post-training data…
bears on” the issue of transformativeness, but they do not explain how it is connected to the issues
in dispute.


5 In the last two weeks of discovery, Meta is producing 8 witnesses for deposition and is taking at

least 3 depositions of Plaintiffs. See ECF No. 302.
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        Finally, for the first time in their letter brief, Plaintiffs vaguely allege that “Meta’s Source
Code Room contains an unorganized mix of scripts and experimental code.” Plaintiffs’ allegation
is simply wrong. Meta provided source code in the manner it is kept in the ordinary course of
business and as governed by the Stipulated Protective Order. Notably, the source code has been
available to Plaintiffs since May, yet they waited until this brief to assert unspecified issues with
the source code’s organization. In any case, Plaintiffs’ complaints about the source code have
nothing to do with RFP 118. To the extent these baseless complaints are timely (which Meta
disputes), the allegations are not properly presented here; Plaintiffs did not raise this issue in any
of their correspondence with Meta or in either of the two meet and confers concerning RFP 118.

         Meta Has Adequately Responded to RFP 119. Plaintiffs’ massive demands regarding
RFP 119—a catalog of every single copy made by Meta of any dataset potentially containing
copyrighted works, and a Meta-wide search for all documents and communications regarding
Llama and CMI or torrenting—overlook what RFP 119 actually seeks and are a poorly disguised
effort to relitigate this Court’s prior decision rejecting Plaintiffs’ overly burdensome demands for
all copies of training data at Meta that may contain Plaintiffs’ works. ECF 288. It does not
request any copies of training data, but rather “All Documents and Communications, including
source code, relating to the processing of copyrighted material used in training Llama Models,
including storage and deletion of copyrighted material.” (emphasis added)
        And even if RFP 119 could be construed with such breadth, it would be overbroad, unduly
burdensome, and disproportionate to Plaintiffs’ needs. Plaintiffs’ demand that Meta “produce or
catalogue all copies it made of copyrighted material,” already once rejected by the Court, see id.,
is an impossible and extraordinarily burdensome undertaking, particularly with seven business
days left in discovery. “[C]opyrighted material” is broad and undefined and “copies” could include
all or portions of datasets that contain many terabytes of data. Nor is it relevant: whether Meta
made one copy of one or multiple copies is not pertinent, as a copyright plaintiff is entitled to at
most one recovery per work, regardless of the number of copies made. See Desire, LLC v. Manna
Textiles, Inc., 986 F.3d 1253, 1266 (9th Cir. 2021) (explaining that the intent of the Copyright Act
is “to constrain the award of statutory damages to a single award per work, rather than allowing a
multiplication of damages based on the number of infringements” (quotations omitted)).
       Plaintiffs also seek to shoehorn their dismissed CMI claim into RFP 119. This claim was
dismissed over a year ago, see ECF 56 at 3, and thus is an improper basis for an RFP. 6 Plaintiffs
also seek to shoehorn their                allegations into RFP 119, but that subject matter has
nothing to do with this RFP and instead is the subject of another RFP (No. 85) not at issue in this

6 After the close of business on Thanksgiving Eve, and without any prior notice to Meta, Plaintiffs

moved for leave to file an amended complaint, including to revive their previously dismissed CMI
claim. ECF 301, Appx. A, at 17-18. Meta will respond to Plaintiffs’ motion in due course. For
now, Meta observes that (1) there is no CMI claim presently in the case and hasn’t for over a year
and (2) Plaintiffs’ demands for more CMI-related discovery are directly contrary to their argument
in the Motion for Leave that the amendment would not require any “additional discovery beyond
what is needed for the copyright infringement claim.” ECF 301 at 1. Moreover, Plaintiffs’
assertion that they only “recently learned that Meta stripped [CMI]” is betrayed by their reliance
on a document produced by Meta in May (ECF 301-7) addressed with Meta witnesses in
September depositions.
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letter brief that Meta is producing documents for. Plaintiffs have not explained or substantiated
how their sweeping demands under RFP 119 are relevant to willfulness, and they are not. 7
       Finally, Plaintiffs again re-raise demands that Meta conduct company-wide searches of
employee emails, chats and WhatsApp messages in response to RFP 119. 8 This demand to rewrite
the ESI order was rejected by the Court just a few weeks ago, noting it “has no merit now.” ECF
279 at 3-4. As Meta previously explained, Plaintiffs’ demands would erase the limitations on
custodians in the Stipulated ESI Order and would mark a fundamental change on the scope of
discovery with only 7 business days left. It would also impose enormous burdens on Meta, as
providing custodial data for just a few custodians requires many weeks of work, as addressed in
previous briefing on requests for a smaller number of custodial data searches. ECF 196 at 2
(recognizing that “[a]dding five document custodians is a big change, not a small change, to the
scope of Meta’s document production obligations in this case”).
III.    PLAINTIFFS’ REPLY
         RFP 118 is not “of ancillary relevance.” Llama’s tendency to “memorize” training data is
additional evidence of copyright infringement even beyond the copying done at other stages of
Meta’s work. And Meta’s efforts to mitigate/conceal Llama’s emission of copyrighted material
shows willfulness. Meta is also wrong that Plaintiffs never raised the issue of its source code
organization. Plaintiffs have done so repeatedly. Each time, Meta represented there were no issues
to address or that it would address them. See, e.g., Dkt. No. 199 at 4-5 n.4 (Meta arguing on 10/3
it “retain[ed] the file structure and organization of the repositories used at Meta”). In any event,
Meta doesn’t dispute the code it’s made available—including four terabytes just yesterday—must
be provided as it’s kept in the usual course of business (i.e., in the way Meta’s employees use it).
Accordingly, the Court should grant the motion as to this request.
         Contrary to Meta’s argument that RFP 119 does not encompass copies of training data, the
RFP defines “processing” to include “storage” of copyrighted material. In citing burden, Meta fails
to tell the Court it already knows where it stores copies, namely in storage locations called
Manifold, GTT, and Hive. To the extent Meta argues that even just identifying these copies is “an
impossible and extraordinarily burdensome undertaking” (perhaps because there are many), Meta
never raised this burden objection in the M&C, its discovery response, or other briefing (see Dkt.
267 at 31). Instead, it just cited burden with other boilerplate objections. If Meta won’t produce
the actual copies, the Court should order Meta to provide that information in a declaration instead. 9

7
  Plaintiffs will likely claim that Meta’s purported “removal” of copyright notices from datasets is
evidence that Meta tried to conceal infringement, but this theory is contrary to the documents and
testimony in the case and also makes no sense. Deleting copyright notices from training data
cannot conceal Meta’s use of that data, because it is not otherwise publicly disclosed.
8
  Nearly identical issues were addressed in the November 9, 2024 omnibus letter brief addressing
Plaintiff’s late-raised disputes on Existing Written Discovery (ECF 267, Issue #1), which the court
denied. (ECF 288.) Nevertheless, Plaintiffs’ serial re-litigation of discovery matters is not
stopping, as Plaintiffs have indicated they will serve Meta with yet another letter brief seeking
additional broad custodial searches of email, chat and WhatsApp messages in response to other
RFPs. Meta expects that Plaintiffs will file that letter brief with the Court soon.
9
  Meta argues the Court should deny Plaintiffs’ requests because Meta can’t comply before 12/13. But that
is not a reason to deny Plaintiffs the discovery to which they’re otherwise entitled. Rather, the Court should
grant the motion and if Meta needs additional time to comply then the parties can ask Judge Chhabria.
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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)

       I hereby attest that I obtained concurrence in the filing of this document from each of the

other signatories. I declare under penalty of perjury that the foregoing is true and correct.



Dated: December 4, 2024                                       BOIES SCHILLER FLEXNER LLP


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